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                                UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA



                                     :
UNITED STATES OF AMERICA             :
                                     :
   v.                                :       Criminal No. 21-cr-90
                                     :
NATHANIEL DEGRAVE                    :       Judge Friedman
                                     :



                         NOTICE REGARDING SEALED VIDEO EXHIBITS



        Defendant Nathaniel DeGrave, through undersigned counsel, respectfully notifies the Court

that he takes no position regarding the Application for Access to Certain Sealed Video Exhibits.




                              Respectfully submitted,


                                    /s/

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